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U.S. v. Zachary Rehl
      21‐CR‐175‐3 (TJK)
                                                           Hearing Exhibits
                                                             June 30, 2021




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                                    Video from REHL’s
                                    Phone Showing His
                                    Location and Vantage
                                    Point During Breach of
                                    U.S. Capitol Police
                                    Barriers and Officers.
                                    (video approximately 1 minute)



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Telegram Messages
Shortly After 1 p.m. Eastern on 1/6/2021

                                                                             Audio of Joe Biggs
                                                                        (Re: “Storming” the Capitol)
PERSON‐2: Storming the capital
1:00pm    building right now!!

PERSON‐2: Get there
1:00pm



UCC‐1:        Storming the capital
1:02pm        building right now!!
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                                                          Parler Posts
   Account Name                                                            Account Bio
                       *President of the Philadelphia Proud Boys ~ 4th degree
                       *Conservative Marine Corps Veteran
     Zach Rehl
                       *Join Proud Boys Philly at: Proudboysphiladelphia.com
                       *Join another at: Proudboysusa.com

 Creation Date (UTC)                                                           Content
                       We’ve known about Democrat election fraud for decades in Democrat controlled cities and no one did anything
2020‐11‐14T14:43:49Z   about it until now, this election is crucial to how we deal with fraud moving forward so we can level the playing
                       field, #DoubleDown #StopTheSteal #Trump2020 #ElectionFraud
2020‐11‐28T04:25:44Z   Hopefully the firing squads are for the traitors that are trying to steal the election from the American people.
                       Getting these RINOs to do their job based on the constitution and appoint electors is apparently too much to
                       ask, the Trump team needs to do something drastic, since Dems were drastic when they tried stealing the
2020‐12‐07T06:53:34Z
                       election in plain sight, its time to step up to the plate and actually do something. #dosomething #stopwaiting
                       #dropthehammer #firebarr #stopthesteal #fbisucks #lockthemup #thisistreason
                       I just want to again thank you all for your help in donating and your support, we love you all, appreciate your
2020‐12‐30T07:38:02Z
                       support and will be there in force on Jan 6th and many more!
                       THIS is what patriotism looks like. Today was indeed a historical day for sure. I will never forget this for as long
2021‐01‐06T23:20:58Z   as I live, keep the fight up America! When government fears its people, you have freedom, when people fear
                       government, you have tyranny.
2021‐01‐07T08:22:45Z   It all started over a “USA” chant. I love this country. The silent majority is no longer silent.
                       They deserve to be tarred and feathered. These cops turning on us are also what they called “turncoats.” Just
2021‐01‐08T08:32:17Z
                       saying.
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                                       Telegram Messages
• Concealment of Telegram Messages After PB Chairman Arrest (1/4/21):
     • “Yeah you gotta manually delete each message from each chat "for everyone" deleting all will only clear it for
       you, only the owner can nuke the chat”
     • “since [PB Chairman] knew the cops were for him, hopefully he logged outta telegram”
     • “Too late now, but just for future reference, wont be the last time one of our people get arrested”
• Bringing Radios (1/5)
     • “Yeah I think I have 5 on me . . . . We had a guy who is supposed to be programming them tonight.”
     • “I just got here with radios, shouldn’t be any reason we don’t use them”
• After the Riot (1/6/2021)
     • REHL:          Ah shit forgot you [Biggs] had to roll, was hoping to have some celebratory beers with yall after this
                      epic fuckin day, I’ll drink one for ya
     • BIGGS:         We will one day. This day lives in infamy or [sic] the ages
     • DONOHOE: Yeah I feel like a complete warrior. . . .
• The Following Day – Pride and Future Planning (1/7/21)
    • “I find this hard to believe now. I’m proud as fuck what we accomplished yesterday, but we need to start
       planning and we are starting planning, for a Biden presidency.



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